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 Fill in this information to identify your case

 UNITED STATES BANKRUPTCY COURT DISTRICT OF COLORADO
 Debtor 1: Sandra    Rosemary     Oldenburg Case #:  23-13858 JGR
               First Name      Middle Name        Last Name


 Debtor 2:     Lee          Michael           Oldenburg       Chapter:   13
               First Name      Middle Name        Last Name


Local Bankruptcy Form 1009-1.1
Notice of Amendment

 Part 1 Notice

You are hereby notified that the debtors have filed amended documents: Amended Form 122C1 (docket no. 49), Form
122C2 (docket no. 50), Amended Schedule I (docket no. 51) and Amended Schedule J (docket no. 52), all filed on
December 22, 2023.

 Part 2 Amendments

                                                  Amended/New information
      Amended Form 122C1 reflects that Debtors are above median income and also that Wife’s gross W2
      income is $7,500/month (i.e. $90,000 annually).

      Form 122C2 is being filed as Debtors are above median income but reflects a Line 45 monthly disposable
      income of a negative number.

      Amended Schedule I also reflects that Wife’s gross W2 income is $7,500/month (i.e. $90,000 annually).
      Modest health insurance and dental/vision payroll deductions are listed.

      Amended Schedule J reflects Debtors current household expenses for four persons. The mortgage
      mortgage payment now matches that listed on PNC Bank’s proof of claim. Line 6c utilities are increased as
      the children now also have cell phones for personal safety purposes. The monthly payment for the 2019
      Range Rover is removed to show additional disposable income to be paid to unsecured creditors. Overall,
      “discretionary” expenses are listed for the entire family but at a modest level in order to address any
      further feasibility issue.




 Part 3 Signature of Debtor’s Attorney or Debtor (if unrepresented)

                                                        Dated this 22nd day of December 2023

                                                        /s/ David M. Serafin
                                                        David M. Serafin, #33686
                                                        501 S. Cherry St., #1100
                                                        Denver, CO 80246
                                                        (303) 862-9124
                                                        david@davidserafinlaw.com

 Part 4 Verification of Debtor

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I declare under penalty of perjury that the foregoing is true and correct.

Dated: December 22, 2023                                   By: /s/ Sandra Rosemary Oldenburg and Lee Michael Oldenburg




                                              CERTIFICATE OF SERVICE

        I certify that I have served true and correct copies of the Debtors’ Amended Form 122C2, Form 122C2, Amended
Schedules I/J, and LBR 1009 Notice of Amendment filed on December 22, 2023, by U.S. Mail, postage pre-paid, to the
following:

Adam Goodman (ECF service)
Chapter 13 Trustee

Robertson B. Cohen Esq. (ECF service)
Attorney for Carlson Farms HOA

                                                                    /s/ David M. Serafin




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